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 6
 7
                                UNITED STATES DISTRICT COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10                                             Case No.:
     MIGUEL HERNANDEZ,
11                Plaintiff,                   COMPLAINT FOR INJUNCTIVE
                                               RELIEF AND DAMAGES FOR DENIAL
12         vs.                                 OF CIVIL RIGHTS OF A DISABLED
                                               PERSON IN VIOLATIONS OF
13
                                               1. AMERICANS WITH DISABILITIES;
14
     ALHAMWY SAMERA D/B/A FIESTA               2. CALIFORNIA’S UNRUH CIVIL
15   LIQUOR; H & H ENTERPRISE, A               RIGHTS ACT;
16   CALIFORNIA GENERAL                        3. CALIFORNIA’S DISABLED
     PARTNERSHIP; and DOES 1 to 10,            PERSONS ACT;
17
                  Defendants.                  4. CALIFORNIA HEALTH & SAFETY
18                                             CODE;
19                                             5. NEGLIGENCE
20
21
22
23
24
25         Plaintiff MIGUEL HERNANDEZ (“Plaintiff”) complains of Defendants
26   ALHAMWY SAMERA D/B/A FIESTA LIQUOR; H & H ENTERPRISE, A
27   CALIFORNIA GENERAL PARTNERSHIP; and DOES 1 to 10 (“Defendants”) and
28   alleges as follows:



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 1                                             PARTIES
 2           1.   Plaintiff is a California resident with a physical disability. Plaintiff suffers
 3   from paraplegia, chronic pain with hypertension secondary to the injury, lumbar strain.
 4   Plaintiff is substantially limited in his ability to walk and requires the use of a wheelchair
 5   at all times when traveling in public.
 6           2.   Defendants are, or were at the time of the incident, the real property owners,
 7   business operators, lessors and/or lessees of the real property for a market (“Business”)
 8   located at or about 7215 Vineland Ave., Sun Valley, California.
 9           3.   The true names and capacities, whether individual, corporate, associate or
10   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
11   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
12   Court to amend this Complaint when the true names and capacities have been
13   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
14   fictitiously named Defendants are responsible in some manner, and therefore, liable to
15   Plaintiff for the acts herein alleged.
16           4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
17   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
18   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
19   the things alleged herein was acting with the knowledge and consent of the other
20   Defendants and within the course and scope of such agency or employment relationship.
21           5.   Whenever and wherever reference is made in this Complaint to any act or
22   failure to act by a defendant or Defendants, such allegations and references shall also be
23   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
24   and severally.
25                                 JURISDICTION AND VENUE
26           6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
27   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
28   seq.)



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 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, Los Angeles County,
 8   California, and that all actions complained of herein take place in this district.
 9                                  FACTUAL ALLEGATIONS
10         10.    On or about May 6, 2020, Plaintiff went to the Business. On or about June
11   5, 2020, Plaintiff went to the Business again.
12         11.    The Business is a liquor store business establishment, open to the public, a
13   place of public accommodation and affects commerce through its operation.
14         12.    While attempting to enter the Business during each visit, Plaintiff personally
15   encountered a number of barriers that interfered with his ability to use and enjoy the
16   goods, services, privileges, and accommodations offered at the Business.
17         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18   included, but were not limited to, the following:
19                a.     Defendants failed to comply with the federal and state standards for
20                       the parking space designated for persons with disabilities. Defendants
21                       failed to provide any parking space designated for persons with
22                       disabilities.
23                b.     Defendants failed to comply with the federal and state standards for
24                       the parking space designated for persons with disabilities. Defendants
25                       failed to provide the parking space identification sign with the
26                       International Symbol of Accessibility.
27                c.     Defendants failed to comply with the federal and state standards for
28                       the parking space designated for persons with disabilities. Defendants



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 1                       failed to post required signage such as “Van Access,” “Minimum Fine
 2                       $250” or “Unauthorized Parking.”
 3                d.     Defendants failed to maintain the parking space designated for
 4                       persons with disabilities to comply with the federal and state
 5                       standards. Defendants failed to provide proper van accessible space
 6                       designated for the persons with disabilities.
 7                e.     Defendant failed to maintain the parking space designated for persons
 8                       with disabilities to comply with the federal and state standards.
 9                       Defendants failed to paint the ground as required.
10                f.     Defendants failed to maintain the parking space designated for
11                       persons with disabilities to comply with the federal and state
12                       standards. Defendants failed to mark the space with the International
13                       Symbol of Accessibility.
14                g.     Defendants failed to maintain the parking space designated for
15                       persons with disabilities to comply with the federal and state
16                       standards. Defendants failed to maintain the facility to be readily
17                       accessible.
18         14.    These barriers and conditions denied Plaintiff the full and equal access to the
19   Business and caused him difficulty and frustration. Plaintiff wishes to return and
20   patronize the Business, however, Plaintiff is deterred from visiting the Business because
21   his knowledge of these violations prevents him from returning until the barriers are
22   removed.
23         15.    Based on the violations, Plaintiff alleges, on information and belief, that
24   there are additional barriers to accessibility at the Business after further site inspection.
25   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
26   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
27
28




                                            COMPLAINT - 4
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 1         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 2   knew that particular barriers render the Business inaccessible, violate state and federal
 3   law, and interfere with access for the physically disabled.
 4         17.    At all relevant times, Defendants had and still have control and dominion
 5   over the conditions at this location and had and still have the financial resources to
 6   remove these barriers without much difficulty or expenses to make the Business
 7   accessible to the physically disabled in compliance with ADDAG and Title 24
 8   regulations. Defendants have not removed such barriers and have not modified the
 9   Business to conform to accessibility regulations.
10                                   FIRST CAUSE OF ACTION
11       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
12         18.    Plaintiff incorporates by reference each of the allegations in all prior
13   paragraphs in this complaint.
14         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
15   shall be discriminated against on the basis of disability in the full and equal enjoyment of
16   the goods, services, facilities, privileges, advantages, or accommodations of any place of
17   public accommodation by any person who owns, leases, or leases to, or operates a place
18   of public accommodation. See 42 U.S.C. § 12182(a).
19         20.    Discrimination, inter alia, includes:
20                a.     A failure to make reasonable modification in policies, practices, or
21                       procedures, when such modifications are necessary to afford such
22                       goods, services, facilities, privileges, advantages, or accommodations
23                       to individuals with disabilities, unless the entity can demonstrate that
24                       making such modifications would fundamentally alter the nature of
25                       such goods, services, facilities, privileges, advantages, or
26                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
27                b.     A failure to take such steps as may be necessary to ensure that no
28                       individual with a disability is excluded, denied services, segregated or



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 1                       otherwise treated differently than other individuals because of the
 2                       absence of auxiliary aids and services, unless the entity can
 3                       demonstrate that taking such steps would fundamentally alter the
 4                       nature of the good, service, facility, privilege, advantage, or
 5                       accommodation being offered or would result in an undue burden. 42
 6                       U.S.C. § 12182(b)(2)(A)(iii).
 7                c.     A failure to remove architectural barriers, and communication barriers
 8                       that are structural in nature, in existing facilities, and transportation
 9                       barriers in existing vehicles and rail passenger cars used by an
10                       establishment for transporting individuals (not including barriers that
11                       can only be removed through the retrofitting of vehicles or rail
12                       passenger cars by the installation of a hydraulic or other lift), where
13                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
14                d.     A failure to make alterations in such a manner that, to the maximum
15                       extent feasible, the altered portions of the facility are readily
16                       accessible to and usable by individuals with disabilities, including
17                       individuals who use wheelchairs or to ensure that, to the maximum
18                       extent feasible, the path of travel to the altered area and the
19                       bathrooms, telephones, and drinking fountains serving the altered
20                       area, are readily accessible to and usable by individuals with
21                       disabilities where such alterations to the path or travel or the
22                       bathrooms, telephones, and drinking fountains serving the altered
23                       area are not disproportionate to the overall alterations in terms of cost
24                       and scope. 42 U.S.C. § 12183(a)(2).
25         21.    Where parking spaces are provided, accessible parking spaces shall be
26   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
27   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
28   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA



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 1   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 2   be van parking space. 2010 ADA Standards § 208.2.4.
 3         22.    Under the ADA, the method and color of marking are to be addressed by
 4   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
 5   Building Code (“CBC”), the parking space identification signs shall include the
 6   International Symbol of Accessibility. Parking identification signs shall be reflectorized
 7   with a minimum area of 70 square inches. Additional language or an additional sign
 8   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
 9   parking space identification sign shall be permanently posted immediately adjacent and
10   visible from each parking space, shall be located with its centerline a maximum of 12
11   inches from the centerline of the parking space and may be posted on a wall at the
12   interior end of the parking space. See CBC § 11B-502.6, et seq.
13         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
14   each entrance to an off-street parking facility or immediately adjacent to on-site
15   accessible parking and visible from each parking space. The additional sign shall not be
16   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
17   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
18   designated accessible spaces not displaying distinguishing placards or special license
19   plates issued for persons with disabilities will be towed always at the owner’s expense…”
20   See CBC § 11B-502.8, et seq.
21         24.    Here, Defendants failed to provide any parking space designated for persons
22   with disabilities. Defendants also failed to provide the parking space identification sign
23   with the International Symbol of Accessibility. In addition, Defendants failed to provide
24   signs stating “Minimum fine $250” or “Van Accessible.” Moreover, Defendants failed to
25   provide the additional sign with the specific languages stating “Unauthorized vehicles
26   parked in designated accessible spaces not displaying distinguishing placards or special
27   license plates issued for persons with disabilities will be towed always at the owner’s
28   expense…”



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 1         25.    For the parking spaces, access aisles shall be marked with a blue painted
 2   borderline around their perimeter. The area within the blue borderlines shall be marked
 3   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
 4   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
 5   be painted on the surface within each access aisle in white letters a minimum of 12 inches
 6   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
 7   11B-502.3.3.
 8         26.    Here, Defendants failed to properly maintain the access aisles as there was
 9   no “NO PARKING” or blue lines painted on the parking surface. Moreover, Defendants
10   failed to provide the access aisle with the minimum width of 96 inches.
11         27.    The surface of each accessible car and van space shall have surface
12   identification complying with either of the following options: The outline of a profile
13   view of a wheel chair with occupant in white on a blue background a minimum 36” wide
14   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
15   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
16   length of the parking space and its lower side or corner aligned with the end of the
17   parking space length or by outlining or painting the parking space in blue and outlining
18   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
19   occupant. See CBC § 11B-502.6.4, et seq.
20         28.    Here, Defendants failed to paint the International Symbol of Accessibility on
21   the surface as required.
22         29.    At least one accessible route shall connect accessible building, facilities,
23   elements, and spaces that are on the same site. 1991 ADA Standards § 4.3.2. A public
24   accommodation shall maintain in operable working condition those features of facilities
25   and equipment that are required to be readily accessible to and usable by persons with
26   disabilities by the Act or this part. 28 C.F.R. 35.211(a).
27         30.    Here, Defendants failed to provide an accessible route to the entrance of the
28   Business from the closest designated handicap parking space, which was too far from the



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 1   Business. Plaintiff is unsure as to whether the closest designated handicap parking space
 2   was provided for customers of the Business since the parking space is in front of a coin
 3   operated laundry business, separate from the Business. In the event that this designated
 4   handicap parking space is shared with the customer parking for the Business, the parking
 5   space had an access aisle that was not level with the parking space.
 6         31.      A public accommodation shall maintain in operable working condition those
 7   features of facilities and equipment that are required to be readily accessible to and usable
 8   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 9         32.      By failing to maintain the facility to be readily accessible and usable by
10   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
11   regulations.
12         33.      The Business has denied and continues to deny full and equal access to
13   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
14   discriminated against due to the lack of accessible facilities, and therefore, seeks
15   injunctive relief to alter facilities to make such facilities readily accessible to and usable
16   by individuals with disabilities.
17                                 SECOND CAUSE OF ACTION
18                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
19         34.      Plaintiff incorporates by reference each of the allegations in all prior
20   paragraphs in this complaint.
21         35.      California Civil Code § 51 states, “All persons within the jurisdiction of this
22   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
23   national origin, disability, medical condition, genetic information, marital status, sexual
24   orientation, citizenship, primary language, or immigration status are entitled to the full
25   and equal accommodations, advantages, facilities, privileges, or services in all business
26   establishments of every kind whatsoever.”
27         36.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
28   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable



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 1    for each and every offense for the actual damages, and any amount that may be
 2    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 3    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 4    attorney’s fees that may be determined by the court in addition thereto, suffered by any
 5    person denied the rights provided in Section 51, 51.5, or 51.6.
 6          37.    California Civil Code § 51(f) specifies, “a violation of the right of any
 7    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 8    shall also constitute a violation of this section.”
 9          38.    The actions and omissions of Defendants alleged herein constitute a denial
10    of full and equal accommodation, advantages, facilities, privileges, or services by
11    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
12    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
13    51 and 52.
14          39.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
15    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
16    damages as specified in California Civil Code §55.56(a)-(c).
17                                   THIRD CAUSE OF ACTION
18                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
19          40.    Plaintiff incorporates by reference each of the allegations in all prior
20    paragraphs in this complaint.
21          41.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
22    entitled to full and equal access, as other members of the general public, to
23    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
24    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
25    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
26    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
27    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
28    places of public accommodations, amusement, or resort, and other places in which the



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 1    general public is invited, subject only to the conditions and limitations established by
 2    law, or state or federal regulation, and applicable alike to all persons.
 3          42.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 4    corporation who denies or interferes with admittance to or enjoyment of public facilities
 5    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 6    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 7    the actual damages, and any amount as may be determined by a jury, or a court sitting
 8    without a jury, up to a maximum of three times the amount of actual damages but in no
 9    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
10    determined by the court in addition thereto, suffered by any person denied the rights
11    provided in Section 54, 54.1, and 54.2.
12          43.    California Civil Code § 54(d) specifies, “a violation of the right of an
13    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
14    constitute a violation of this section, and nothing in this section shall be construed to limit
15    the access of any person in violation of that act.
16          44.    The actions and omissions of Defendants alleged herein constitute a denial
17    of full and equal accommodation, advantages, and facilities by physically disabled
18    persons within the meaning of California Civil Code § 54. Defendants have
19    discriminated against Plaintiff in violation of California Civil Code § 54.
20          45.    The violations of the California Disabled Persons Act caused Plaintiff to
21    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
22    statutory damages as specified in California Civil Code §55.56(a)-(c).
23                                 FOURTH CAUSE OF ACTION
24                 CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
25          46.    Plaintiff incorporates by reference each of the allegations in all prior
26    paragraphs in this complaint.
27          47.    Plaintiff and other similar physically disabled persons who require the use of
28    a wheelchair are unable to use public facilities on a “full and equal” basis unless each



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 1    such facility is in compliance with the provisions of California Health & Safety Code §
 2    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 3    provisions of California Health & Safety Code § 19955 et seq.
 4           48.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 5    that public accommodations or facilities constructed in this state with private funds
 6    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 7    Title 1 of the Government Code. The code relating to such public accommodations also
 8    require that “when sanitary facilities are made available for the public, clients, or
 9    employees in these stations, centers, or buildings, they shall be made available for
10    persons with disabilities.
11           49.    Title II of the ADA holds as a “general rule” that no individual shall be
12    discriminated against on the basis of disability in the full and equal enjoyment of goods
13    (or use), services, facilities, privileges, and accommodations offered by any person who
14    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
15    Further, each and every violation of the ADA also constitutes a separate and distinct
16    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
17    award of damages and injunctive relief pursuant to California law, including but not
18    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
19                                    FIFTH CAUSE OF ACTION
20                                          NEGLIGENCE
21           50.    Plaintiff incorporates by reference each of the allegations in all prior
22    paragraphs in this complaint.
23           51.    Defendants have a general duty and a duty under the ADA, Unruh Civil
24    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
25    to the Plaintiff.
26           52.    Defendants breached their duty of care by violating the provisions of ADA,
27    Unruh Civil Rights Act and California Disabled Persons Act.
28




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 1          53.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 2    has suffered damages.
 3                                     PRAYER FOR RELIEF
 4          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 5    Defendants as follows:
 6          1.     For preliminary and permanent injunction directing Defendants to comply
 7    with the Americans with Disability Act and the Unruh Civil Rights Act;
 8          2.     Award of all appropriate damages, including but not limited to statutory
 9    damages, general damages and treble damages in amounts, according to proof;
10          3.     Award of all reasonable restitution for Defendants’ unfair competition
11    practices;
12          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
13    action;
14          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
15          6.     Such other and further relief as the Court deems just and proper.
16
17                               DEMAND FOR TRIAL BY JURY
18          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
19    demands a trial by jury on all issues so triable.
20
21    Dated: October 6, 2020                  SO. CAL. EQUAL ACCESS GROUP
22
23
24                                            By:   _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
25                                            Attorneys for Plaintiff
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                                            COMPLAINT - 13
